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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                          McALLEN DIVISION


UNITED STATES OF AMERICA        '

v.
                                '
                                '       Criminal No.
                                                           M-18-0960
                                '
SANTIAGO VILLALOBOS             '
also known as “Jimbo”           '
JUAN ALBERTO VILLALOBOS         '
also known as “Albert”          '
VIRGIL LEE CARRILLO             '
ERIC GOMEZ                      '
ERIC CARRILLO                   '
MICHAEL GRAVES                  '
URIEL MAYORQUIN CARRILLO        '
DANIEL MAYORQUIN CARRILLO       '
ROMULO CHAPA                    '
REYES HERNANDEZ, III            '
CHRISTOPHER HAM                 '
JORGE REYNALDO TAMEZ            '
JACOB GARCIA                    '
ESTEBAN SOLOMON                 '
ROBERTO EMMANUEL MONTENEGRO '
also known as “Beto”            '
also known as “Oso”             '
also known as “Panda”           '
DEALLEN NETTLES                 '
JUAN MANUEL FONSECA             '
also known as “Red”             '
MONICA FONSECA                  '
JOSE LUIS GONZALEZ JR.          '
RUDIS EDGARDO ZELAYA            '
TOMAS VILLAREAL                 '
also known as “Canas”           '
RUBY GUZMAN                     '
LIANG GUO YU                    '
JONATHAN XIE                    '
MICHAEL TOVAR                   '
CHRISTIAN ELIUD BENAVIDES PEREZ '
MARIA E. GARCIA                 '
GONZALO HERNANDEZ               '
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                                    SEALED INDICTMENT

THE GRAND JURY CHARGES:

                                            Count One

       From on or about May 2012, to on or about the date of this indictment, in the Southern

District of Texas and within the jurisdiction of the Court, defendants,

                               SANTIAGO VILLALOBOS
                                 also known as “Jimbo”
                            JUAN ALBERTO VILLALOBOS
                                 also known as “Albert”
                                VIRGIL LEE CARRILLO
                                      ERIC GOMEZ
                                    JACOB GARCIA
                                 ESTEBAN SOLOMON
                         ROBERTO EMMANUEL MONTENEGRO
                                  also known as “Beto”
                                   also known as “Oso”
                                 also known as “Panda”
                                  DEALLEN NETTLES
                              JUAN MANUEL FONSECA
                                   also known as “Red”
                              JOSE LUIS GONZALEZ JR.
                                           and
                              RUDIS EDGARDO ZELAYA

did knowingly and intentionally conspire and agree together and with other persons known and

unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 846, 841(a)(1), and 841(b)(1)(A).

                                           Count Two

       From on or about November 2012, to on or about the date of this indictment, in the

Southern District of Texas and elsewhere within the jurisdiction of the Court, the defendants,
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                              SANTIAGO VILLALOBOS
                                also known as “Jimbo”
                            JUAN ALBERTO VILLALOBOS
                                also known as “Albert”
                               VIRGIL LEE CARRILLO
                                   ERIC CARRILLO
                                 MICHAEL GRAVES
                           URIEL MAYORQUIN CARRILLO
                           DANIEL MAYORQUIN CARRILLO
                                   ROMULO CHAPA
                               REYES HERNANDEZ, III
                                CHRISTOPHER HAM
                             JORGE REYNALDO TAMEZ
                         ROBERTO EMMANUEL MONTENEGRO
                                 also known as “Beto”
                                  also known as “Oso”
                                also known as “Panda”
                                 DEALLEN NETTLES
                              JUAN MANUEL FONSECA
                                  also known as “Red”
                                 MONICA FONSECA
                                TOMAS VILLAREAL
                                also known as “Canas”
                                    RUBY GUZMAN
                                    LIANG GUO YU
                                    JONATHAN XIE
                                  MICHAEL TOVAR
                         CHRISTIAN ELIUD BENAVIDES PEREZ
                                  MARIA E. GARCIA
                                          and
                               GONZALO HERNANDEZ

did knowingly and intentionally conspire and agree together and with other persons known and

unknown to the Grand Jury, to commit offenses against the United States in violation of Title 18,

United States Code, Section 1956, to wit:

a)     to transport, transmit and transfer and attempt to transport, transmit and transfer monetary

instruments and funds from a place in the United States to a place outside the United States with

the intent to promote the carrying on of specified unlawful activity, that is, the distribution of a

controlled substance, an offense punishable under Title 21 of the laws of the United States.
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        In violation of Title 18, United States Code, Section 1956(a)(2)(A).

and,

b)      to conduct and attempt to conduct a financial transaction affecting interstate and foreign

commerce, to wit, the purchase of the properties, both real and personal, which involved the

proceeds of a specified unlawful activity, that is, the distribution of a controlled substance, a

violation of Title 21, knowing that the transaction was designed in whole and in part to conceal

and disguise, the nature, source, ownership, and control of the proceeds of said specified unlawful

activity and that while conducting and attempting to conduct such financial transaction knew that

the property involved in the financial transaction, that is, funds represented the proceeds of some

form of unlawful activity, in violation of Title 18 United States Code Sections 1956(a)(1)(B)(i).

        In violation of Title 18, United States Code, Section 1956(h).

                                          Count Three

        Beginning on or about April 24, 2013, and continuing to on or about December 12, 2014,

in the in the Southern District of Texas and elsewhere within the jurisdiction of the Court,

defendants,

                                  JUAN MANUEL FONSECA
                                     also known as “Red”
                                             and
                                    MONICA FONSECA

did knowingly conduct and attempt to conduct a financial transaction affecting interstate and

foreign commerce, to wit, the purchase of the property located at 8533 Edinburg Ct. Houston,

Texas which involved the proceeds of a specified unlawful activity, that is, the distribution of a

controlled substance, an offense punishable under Title 21 of the laws of the United States,

knowing that the transaction was designed in whole and in part to conceal and disguise, the nature,

source, ownership, and control of the proceeds of said specified unlawful activity and that while
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conducting and attempting to conduct such financial transaction knew that the property involved

in the financial transaction, that is, funds represented the proceeds of some form of unlawful

activity.

        In violation of Title 18 United States Code Sections 1956(a)(1)(B)(i) and 2.

                                             Count Four

        On or about May 23, 2013, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                  VIRGIL LEE CARRILLO
                                     ERIC CARRILLO
                                    MICHAEL GRAVES
                                            and
                              URIEL MAYORQUIN CARRILLO

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $559,225.00 in United States Currency, from a

place in the United States, that is Houston, Texas to a place outside the United States, that is

Mexico, with the intent to promote the carrying on of specified unlawful activity, that is the

distribution of a controlled substance.

        In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                             Count Five

        On or about September 14, 2013, in the Southern District of Texas and elsewhere within

the jurisdiction of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
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                                              and
                                          ROMULO CHAPA

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $1,575,448.00 in United States currency, from a

place in the United States, that is, Houston, Texas to a place outside the United States, that is

Mexico, with the intent to promote the carrying on of specified unlawful activity, that is the

distribution of a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                             Count Six

       On or about January 21, 2014 in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                            and
                              URIEL MAYORQUIN CARRILLO

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $300,040.00 in United States currency, from a place

in the United States, that is Houston, Texas to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.
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                                           Count Seven

       On or about February 12, 2015 in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                                SANTIAGO VILLALOBOS
                                  also known as “Jimbo”
                              JUAN ALBERTO VILLALOBOS
                                  also known as “Albert”
                             DANIEL MAYORQUIN CARRILLO
                                           and
                                REYES HERNANDEZ, III

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $699,760.00 in United States currency, from a place

in the United States, that is Houston, Texas to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                            Count Eight

       On or about February 19, 2015, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                  VIRGIL LEE CARRILLO
                                       ERIC GOMEZ
                                            and
                                      JACOB GARCIA

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 78 kilograms of a
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mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

                                             Count Nine

       On or about December 14, 2015, in the Southern District of Texas and elsewhere within

the jurisdiction of the Court, defendants,

                              SANTIAGO VILLALOBOS
                                also known as “Jimbo”
                            JUAN ALBERTO VILLALOBOS
                                also known as “Albert”
                                CHRISTOPHER HAM
                             JORGE REYNALDO TAMEZ
                                         and
                         ROBERTO EMMANUEL MONTENEGRO
                                 also known as “Beto”
                                 also known as “Oso”
                                also known as “Panda”

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $1,039,960.00 in United States currency, from a

place in the United States, that is Houston, Texas to a place outside the United States, that is

Mexico, with the intent to promote the carrying on of specified unlawful activity, that is the

distribution of a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                             Count Ten

   On or about December 29, 2015, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                                  SANTIAGO VILLALOBOS
                                    also known as “Jimbo”
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                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                            ROBERTO EMMANUEL MONTENEGRO
                                    also known as “Beto”
                                    also known as “Oso”
                                   also known as “Panda”
                                            and
                                   DEALLEN NETTLES

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $332,117.00 in United States currency, from a place

in the United States, that is Chicago, Illinois to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                           Count Eleven

       On or about February 26, 2016 , in the Southern District of Texas and within the jurisdiction

of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                            and
                                   ESTEBAN SOLOMON

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 131.5 kilograms of

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.
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                                         Count Twelve

       On or about March 18, 2016, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,

                                SANTIAGO VILLALOBOS
                                  also known as “Jimbo”
                                           and
                              JUAN ALBERTO VILLALOBOS
                                  also known as “Albert”

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 158 kilograms of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

                                        Count Thirteen

       From on or about May 18, 2016, to on or about May 19, 2016, in the Southern District of

Texas and elsewhere within the jurisdiction of the Court, defendants,

                                SANTIAGO VILLALOBOS
                                  also known as “Jimbo”
                              JUAN ALBERTO VILLALOBOS
                                  also known as “Albert”
                                  TOMAS VILLAREAL
                                  also known as “Canas”
                                     RUBY GUZMAN
                                     LIANG GUO YU
                                     JONATHAN XIE
                                           and
                                   MICHAEL TOVAR

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $701,116.00 in United States currency, from a place
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in the United States, that is Houston, Texas to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                          Count Fourteen

       On or about July 11, 2016, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                               SANTIAGO VILLALOBOS
                                 also known as “Jimbo”
                             JUAN ALBERTO VILLALOBOS
                                 also known as “Albert”
                          CHRISTIAN ELIUD BENAVIDES PEREZ
                                          and
                                  MARIA E. GARCIA

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $196,715.00 in United States currency, from a place

in the United States, that is Houston, Texas to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                           Count Fifteen

       On or about July 17, 2016, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                            and
                                 JUAN MANUEL FONSECA
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                                         also known as “Red”

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $399,920.00 in United States currency, from a place

in the United States, that is Combes, Texas to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                            Count Sixteen

       On or about July 19, 2016, in the Southern District of Texas and within the jurisdiction of

the Court, defendants,

                                  SANTIAGO VILLALOBOS
                                    also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                    also known as “Albert”
                                 JUAN MANUEL FONSECA
                                     also known as “Red”
                                             and
                                 JOSE LUIS GONZALEZ JR.

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 10.95 kilograms of

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

                                          Count Seventeen

       On or about August 4, 2016, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,
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                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                            and
                                 GONZALO HERNANDEZ

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $318,120.00 in United States currency, from a place

in the United States, that is Pasadena, Texas to a place outside the United States, that is Mexico,

with the intent to promote the carrying on of specified unlawful activity, that is the distribution of

a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                          Count Eighteen

       On or about August 5, 2016, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                            and
                                 GONZALO HERNANDEZ

did transport, transmit and transfer and attempt to transport, transmit and transfer a monetary

instruments and funds, that is, approximately $1,570,214.00 in United States currency, from a

place in the United States, that is Pasadena Texas to a place outside the United States, that is

Mexico, with the intent to promote the carrying on of specified unlawful activity, that is the

distribution of a controlled substance.

       In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.
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                                         Count Nineteen

       On or about October 22, 2016, in the Southern District of Texas and within the

jurisdiction of the Court, defendants,

                                 SANTIAGO VILLALOBOS
                                   also known as “Jimbo”
                               JUAN ALBERTO VILLALOBOS
                                   also known as “Albert”
                                            and
                                 RUDIS EDGARDO ZELAYA

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 63.5 kilograms of

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

                                         Count Twenty

       On or about December 16, 2016, and continuing to on or about May 14, 2018, in the

Southern District of Texas and elsewhere within the jurisdiction of the Court, defendants,

                                  JUAN MANUEL FONSECA
                                     also known as “Red”
                                             and
                                    MONICA FONSECA

did knowingly conduct and attempt to conduct a financial transaction affecting interstate and

foreign commerce, to wit, the purchase of the property and improvements to 18563 Michaels Run

Houston, Texas which involved the proceeds of a specified unlawful activity, that is, the

distribution of a controlled substance, an offense punishable under Title 21 of the laws of the

United States, knowing that the transaction was designed in whole and in part to conceal and
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disguise, the nature, source, ownership, and control of the proceeds of said specified unlawful

activity and that while conducting and attempting to conduct such financial transaction knew that

the property involved in the financial transaction, that is, funds represented the proceeds of some

form of unlawful activity.

       In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2.

                             NOTICE OF CRIMINAL FORFEITURE
                                     (21 U.S.C. § 853(a))

       Pursuant to Title 21, United States Code, Section 853(a), the United States of America

gives notice to defendants

                SANTIAGO VILLALOBOS (Counts 1, 8, 11, 12, 16 and 19)
                              also known as “Jimbo”
              JUAN ALBERTO VILLALOBOS (Counts 1, 8, 11, 12, 16 and 19)
                              also known as “Albert”
                     VIRGIL LEE CARRILLO (Counts 1 and 8)
                          ERIC GOMEZ (Counts 1 and 8)
                         JACOB GARCIA (Counts 1 and 8)
                      ESTEBAN SOLOMON (Counts 1 and 9)
                  ROBERTO EMMANUEL MONTENEGRO (Count 1)
                               also known as “Beto”
                               also known as “Oso”
                              also known as “Panda”
                          DEALLEN NETTLES (Count 1)
                    JUAN MANUEL FONESCA (Counts 1 and 16)
                               also known as “Red”
                    JOSE LUIS GONZALEZ JR. (Counts 1 and 16)
                                       and
                    RUDIS EDGARDO ZELAYA (Counts 1 and 19)

that upon conviction of an offense in violation of Title 21, United States Code, §§ 841 and 846,

the following is subject to forfeiture:

   1) all property constituting, or derived from, any proceeds obtained, directly or indirectly, as

       the result of such violation; and
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   2) all property used, or intended to be used, in any manner or part, to commit, or to facilitate

       the commission of, such violation.

                                  NOTICE OF FORFEITURE
                                     (18 U.S.C. ' 982(a)(1))

       Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives notice

to defendants

       SANTIAGO VILLALOBOS (Counts 2, 4, 5, 6, 7, 9, 10, 13, 14, 15, 17 and 18)
                           also known as “Jimbo”
     JUAN ALBERTO VILLALOBOS (Counts 2, 4, 5, 6, 7, 9, 10, 13, 14, 15, 17 and 18)
                           also known as “Albert”
                  VIRGIL LEE CARRILLO (Counts 2 and 4)
                      ERIC CARRILLO (Counts 2 and 4)
                     MICHAEL GRAVES (Counts 2 and 4)
              URIEL MAYORQUIN CARRILLO (Counts 2, 4 and 6)
             DANIEL MAYORQUIN CARRILLO (Counts 2, 4, 6 and 7)
                      ROMULO CHAPA (Counts 2 and 5)
                  REYES HERNANDEZ, III (Counts 2 and 7)
                    CHRISTOPHER HAM (Counts 2 and 9)
                 JORGE REYNALDO TAMEZ (Counts 2 and 9)
           ROBERTO EMMANUEL MONTENEGRO (Counts 2, 9 and 10)
                            also known as “Beto”
                            also known as “Oso”
                           also known as “Panda”
                    DEALLEN NETTLES (Counts 2 and 10)
               JUAN MANUEL FONESCA (Counts 2, 3, 15 and 20)
                            also known as “Red”
                   MONICA FONESCA (Counts 2, 3 and 20)
                   TOMAS VILLAREAL (Counts 2 and 13)
                           also known as “Canas”
                      RUBY GUZMAN (Counts 2 and 13)
                      LIANG GUO YU (Counts 2 and 13)
                      JONATHAN XIE (Counts 2 and 13)
                     MICHAEL TOVAR (Counts 2 and 13)
            CHRISTIAN ELIUD BENAVIDES PEREZ (Counts 2 and 14)
                     MARIA E. GARCIA (Counts 2 and 14)
                                    and
                GONZALO HERNANDEZ (Counts 2, 17 and 18)

that upon conviction in violation of Title 18, United States Code, §§ 1956(h), 1956(a)(2)(A) and

1956(a)(1)(B)(i), all property, real or personal, involved in money laundering offenses or traceable
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to such property, is subject to forfeiture.



                           PROPERTY SUBJECT TO FORFEITURE

        Defendants are notified that the property subject to forfeiture includes, but is not limited

to, the following property:

 Asset          Asset Type                                  Description


    1      $159,544.22              Net sale proceeds from the sale of real property at 18567 and
                                    18563 Michaels Run, Montgomery, Texas on April 30, 2018
    2      $599,255.00              United States currency seized on or about May 23, 2013

    3      $1,575,488.00            United States currency seized on or about September 14, 2013

    4      $300,040.00              United States currency seized on or about January 21, 2014

    5      $699,760.00              United States currency seized on or about February 12, 2015

    6      $1,039,960.00            United States currency seized on or about December 14, 2015

    7      $332,117.00              United States currency seized on or about December 29, 2015

    8      $701,116.00              United States currency seized on or about May 19, 2015

    9      $196,715.00              United States currency seized on or about July 11, 2016

   10      $399,920.00              United States currency seized on or about July 17, 2016

   11      $318,120.00              United States currency seized on or about August 4, 2016

   12      $1,570,214.00            United States currency seized on or about August 5, 2016
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